 Case 4:21-cv-04081-RAL Document 16 Filed 09/22/21 Page 1 of 9 PageID #: 100




                        UNITED STATES DISTRICT COURT
                          DISTRICT OF SOUTH DAKOTA
                               SOUTHERN DIVISION



ARLEN FOSTER and CINDY FOSTER,

                                      Plaintiffs,
                                                    Case No. 4:21-cv-04081-RAL
v.

THE UNITED STATES DEPARTMENT OF
AGRICULTURE; TOM VILSACK, in his
official capacity as Secretary of the United
States Department of Agriculture; THE
NATURAL RESOURCES CONSERVATION
SERVICE; TERRY COSBY, in his official
capacity as Acting Chief of the Natural
Resources Conservation Service; and LAURA
BROYLES, in her official capacity as Acting
South Dakota State Conservationist,

                                    Defendants.


                          JOINT DISCOVERY REPORT

       Pursuant to this Court’s August 9, 2021 order, the parties jointly file this

written report outlining and proposing a briefing schedule for this case.

     A. Date and Place of the Meeting and Identification of Those Present

       The Rule 26(f) meeting was held on August 31 via telephone. Plaintiffs were

represented by Jeffrey McCoy and Christopher Sommers. Paige Gilliard, an

attorney at Pacific Legal Foundation, was also present. Defendants were

represented by Alison Ramsdell and Paul Freeborne, of the United States




                                           1
 Case 4:21-cv-04081-RAL Document 16 Filed 09/22/21 Page 2 of 9 PageID #: 101




Attorney’s Office and the Environment and Natural Resources Division of the

United States Department of Justice, respectively.

   B. Description of the Case

   Plaintiffs’ Statement: The Plaintiffs challenge the Defendants’ application

and enforcement of the Highly Erodible Land and Wetland Conservation Provisions,

16 U.S.C. § 3801, et seq. (Swampbuster Act) and related regulations. In 2011,

Defendants Natural Resources Conservation Service (NRCS) and United States

Department of Agriculture (USDA) certified a determination that the Plaintiffs’

property contains a federally regulated wetland. In August 2017 and again in May

2020, Plaintiffs submitted requests that NRCS review the 2011 Certification. In

both cases, the NRCS sent letters to the Plaintiffs denying the request to review the

2011 certification. The NRCS’s letters did not provide any appeal rights of the

NRCS’s refusals to review the 2011 certification.

   Plaintiffs bring this case under 5 U.S.C. § 702 (judicial review of agency action)

and 28 U.S.C. § 1331 (civil action arising under laws of the United States).

Plaintiffs allege five claims for relief. The First Claim alleges that the Swampbuster

Act violates the Commerce Power and the Tenth Amendment and violates the

unconstitutional conditions doctrine. The Second Claim alleges that Defendants’

Review Regulation was not in effect under the Congressional Review Act. The Third

Claim for Relief alleges that Defendants’ Review Regulation violates the

Swampbuster Act and the Due Process Clause of the U.S. Constitution. The Fourth

Claim for Relief alleges that the Defendants’ 2017 and 2020 Denials of Plaintiffs’




                                          2
 Case 4:21-cv-04081-RAL Document 16 Filed 09/22/21 Page 3 of 9 PageID #: 102




2017 and 2020 Requests for review of the 2011 Certification are arbitrary and

capricious, unlawfully withheld agency action, and/or otherwise contrary to law.

The Fifth Claim for Relief alleges that the 2011 certification is no longer valid or in

effect as a result of the 2017 and/or 2020 requests for review.

   Defendants’ Statement: The Complaint sets forth five claims. Claim One

presents a facial constitutional challenge to the Swampbuster Act under the

Commerce Clause and Tenth Amendment. Claim Two presents a challenge to the

agency’s regulations governing the review of NRCS wetland certifications, alleging

that the regulations did not undergo review pursuant to the Congressional Review

Act. Claim Three alleges that the agency’s regulations governing the review of

NRCS wetland determinations violates the Swampbuster Act. Claim Four alleges

that NRCS purportedly denied Plaintiffs’ 2017 and 2020 requests that NRCS review

the 2011 Certification previously upheld by the Eighth Circuit. See Foster v.

Vilsack, 820 F.3d 330 (8th Cir. 2016), cert denied, 137 S. Ct. 620 (2017). And Count

Five requests that the Court rule that the 2011 certification is no longer valid

because of Plaintiffs’ 2017 and 2020 requests for review. Defendants anticipate

moving to dismiss Plaintiffs’ claims on various jurisdictional and other threshold

grounds, including failure to exhaust administrative remedies and the lack of

reviewable “final agency action” under the Administrative Procedure Act (APA), as

well as moving on the merits, as each of the claims presented in this action fail as a

matter of law.




                                           3
 Case 4:21-cv-04081-RAL Document 16 Filed 09/22/21 Page 4 of 9 PageID #: 103




   C. Pleadings

   The parties agree that all pleadings have been filed and no party anticipates the

need to amend any pleadings. Jury trial is unavailable in this case.

   D. Initial Discovery Plan

   Plaintiffs’ Statement: The parties have not made initial disclosures. This case

arises under the Administrative Procedure Act and, if necessary, will be resolved on

the administrative record.

   Defendants’ Statement: Defendants agree that initial disclosures are not

appropriate in this case. But, the basis is different than what Plaintiffs’ state

above: As discussed, four out of the five claims presented in the Complaint are

facial challenges that the parties agree can be resolved without discovery or any

factual development whatsoever. Federal Defendants therefore disagree that an

administrative record is either necessary or appropriate for such claims, at any

juncture. “A facial challenge to a statute or regulation is independent of the

individual bringing the complaint and the circumstances surrounding his or her

challenge.” Preminger v. Sec’y of Veterans Affairs, 517 F.3d 1299, 1311 (Fed. Cir.

2008) (citing Griffin v. Sec’y of Veterans Affairs, 288 F.3d 1309, 1317 (Fed. Cir.

2002)). Indeed, to prevail on a facial constitutional challenge to the statute and

regulations here, Plaintiffs must “establish that no set of circumstances exists”

under which the statute or regulations would be valid. United States v. Salerno,

481 U.S. 739, 745 (1987); see also Reno v. Flores, 507 U.S. 292, 301 (1993)

(recognizing that showing applies equally to facial constitutional and statutory




                                           4
 Case 4:21-cv-04081-RAL Document 16 Filed 09/22/21 Page 5 of 9 PageID #: 104




challenge to regulations). An administrative record is thus not necessary to resolve

Plaintiffs’ facial challenges, including the various facial challenges to the regulation

at 7 C.F.R. § 12.30(c)(6). Am. Bankers Ass’n v. Nat’l Credit Union Admin., 271 F.3d

262, 266 (D.C. Cir. 2001). Plaintiffs’ facial challenges can and should instead be

adjudicated based upon the statute and legislative history, alone. Id. In paragraph

89 of the Complaint, Plaintiffs appeared to agree that such claims can be

adjudicated with “[n]o factual development” and resolved as a matter of law.

   The only claim in the Complaint that could potentially require an administrative

record is Count Four, which contends that NRCS’s purported denial of the 2017 and

2020 requests for review was arbitrary and capricious. To date, however, Plaintiffs

have failed to exhaust their administrative remedies in obtaining a final agency

decision regarding the NRCS response challenged in Count Four. NRCS makes the

technical wetland determinations, delineations, and certifications under these

statutory and regulatory criteria. 16 U.S.C. § 3822(j); 7 C.F.R. § 12.30(a)(3). NRCS

determinations are subject to appeal, including to the National Appeals Division

(NAD) and to the NAD Director. 7 C.F.R. § 12.12; 7 C.F.R. part 614. For that

reason, it is the NAD Director’s decision—not the NRCS’s initial determination or

the hearing officer’s decision—that represents the “final agency action” subject to

review under the APA. Bartlett v. United States Dep’t of Agric., 716 F.3d 464, 470

(8th Cir. 2013) (“Notwithstanding the other avenues of administrative appeal, only

‘final determination[s]’ by the NAD are ‘reviewable and enforceable’ by district

courts.”). 7 U.S.C. § 6999; 7 C.F.R. § 11.13(a)”); see also 7 C.F.R. § 614.17. By




                                           5
 Case 4:21-cv-04081-RAL Document 16 Filed 09/22/21 Page 6 of 9 PageID #: 105




failing to appeal either NRCS response to NAD and the NAD Director, Plaintiffs

failed to exhaust their administrative remedies. Federal Defendants will, therefore,

include further argument on this Count in briefing.

   E. Discovery Plan

   Plaintiffs’ Statement: The parties have conferred and believe that this case

can be resolved on cross-motions for summary judgment prior to the filing of the

administrative record. Defendants believe the Court can resolve all claims in its

favor on summary judgment. Plaintiffs believe that the resolution of some of its

claims may require Defendants to produce an administrative record, but that the

Court does not need to resolve those claims to enter judgment in Plaintiffs’ favor. As

for the fourth claim for relief, Plaintiffs allege that “the Defendants’ 2017 and 2020

Denials of Plaintiffs’ 2017 and 2020 Requests for review of the 2011 Certification

are arbitrary and capricious, unlawfully withheld agency action, and/or otherwise

contrary to law.” Complaint ¶ 141. Claims alleging that an agency is unlawfully

withholding action are not subject to exhaustion requirements. See, e.g., Minier v.

Cent. Intel. Agency, 88 F.3d 796, 799 n.2 (9th Cir. 1996). In any event, there is a

final decision this Court can review. Under 7 C.F.R. § 12.30(c)(6), it is the NRCS

that makes the final decision whether or not to accept a request to review a

previous wetlands delineation. That the NRCS makes the final decision to not

review a request is reflected in the NRCS’s August 2017 and May 2020 letters to the

Plaintiffs, which do not provide any appeal rights of the NRCS’s determination.

Regardless, both parties have agreed to stay the production of the administrative




                                           6
 Case 4:21-cv-04081-RAL Document 16 Filed 09/22/21 Page 7 of 9 PageID #: 106




record until after this Court decides the cross-motions for summary judgment and

Defendants will produce the record if the case is not resolved at that stage.

      Defendants’ Statement: Defendants do not agree that an administrative

record is appropriate to resolve Plaintiffs’ facial challenges, at any juncture. As

discussed above, the only Count that could potentially require an administrative

record is Count Four. Because Plaintiffs failed to exhaust their administrative

rights of appeal, and to obtain a reviewable “final agency decision,” however, the

Court lacks subject-matter jurisdiction to hear that claim. Finally, as reflected in

the schedule below, Federal Defendants intend to file a motion to dismiss, not

summary judgment, based upon this and other threshold deficiencies in the

Complaint—and on the merits.

   F. Dispositive Motions.

      The Parties propose the following briefing schedule and word limit for

   dispositive motions:

          •   Defendants’ dispositive motion (12,000 words) due on or before

              November 8, 2021.

          •   Plaintiffs’ combined response and cross-motion (16,000 words) due on

              or before December 23, 2021.

          •   Defendants’ combined response and reply in support of its dispositive

              motion (16,000 words) due on or before February 14, 2022.

          •   Plaintiffs’ reply (8,000 words) due on or before March 16, 2022.




                                           7
Case 4:21-cv-04081-RAL Document 16 Filed 09/22/21 Page 8 of 9 PageID #: 107




 G. Settlement

    Plaintiffs sent a written settlement offer on August 27, 2021. Federal

 Defendants will respond to this letter. Settlement is unlikely in this matter.

    DATED: September 22, 2021.

                                            Respectfully submitted,

                                            /s/ Christopher Sommers
                                            CHRISTOPHER SOMMERS
                                            Redstone Law Firm LLP
                                            1300 W. 57th Street, Suite 101
                                            Sioux Falls, SD 57108
                                            Telephone: (605) 444-2801
                                            Email: chris@redstonelawfirm.com

                                            JEFFREY W. McCOY *
                                            Cal. Bar No. 317377
                                            Pacific Legal Foundation
                                            930 G Street
                                            Sacramento, CA 95814
                                            Telephone: (916) 419-7111
                                            Email: JMcCoy@pacificlegal.org
                                            * Pro Hac Vice

                                            Counsel for Plaintiffs




                                        8
Case 4:21-cv-04081-RAL Document 16 Filed 09/22/21 Page 9 of 9 PageID #: 108




                                  DENNIS R. HOLMES
                                  Acting United States Attorney


                                  Alison J. Ramsdell
                                  Assistant U.S. Attorney
                                  P.O. Box 2638
                                  Sioux Falls, SD 57101-2638
                                  (605) 330-4400
                                  Alison.Ramsdell@usdoj.gov

                                  TODD KIM
                                  Assistant Attorney General
                                  Environment & Natural Resources Division
                                  U.S. Department of Justice

                                  PAUL G. FREEBORNE
                                  Trial Attorney
                                  Natural Resources Section
                                  150 M St. NE
                                  Washington, D.C. 20002
                                  (202) 532-5271
                                  paul.freeborne@usdoj.gov

                                  Counsel for Federal Defendants




                                    9
